                                          THE UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF OHIO

                    IN RE:                                         )   CHAPTER 13
                                                                   )   CASE NO: 19-50681
                    Christopher D Janok                            )
                                                                   )   ALAN M. KOSCHIK
                                                                   )   BANKRUPTCY JUDGE
                                                DEBTOR(S)          )
                                                                   )   TRUSTEE'S OBJECTION TO
                                                                   )   CONFIRMATION AND MOTION TO
                                                                   )   DISMISS AND 21 DAY OBJECTION
                                                                   )   PERIOD
                                                                   )

                    Now comes Keith L. Rucinski, the Chapter 13 Trustee, and pursuant to 11 USC § 1307(c)
                    hereby files this Objection to Confirmation and Motion to Dismiss.

                          1. The plan was filed on 03/27/2019.
                          2. The Chapter 13 plan payment is $1,448.00 MONTHLY.
                          3. The reason(s) that the Trustee cannot recommend the plan for confirmation is:

                            A. Pursuant to 11 USC § 1307(c)(6) and 11 USC § 1325(b)(4)(B), the plan as
                    proposed will not complete within the maximum of 60 months from the date of the required
                    first plan payment. Therefore, the plan is not feasible. (See box below)

                      X B. Pursuant to 11 USC § 1307(c)(4) and 11 USC § 1326, the Debtor(s) is
                    delinquent in plan payments. (See box below)

                      X C. Pursuant to 11 USC § 1307(c)(1), the Debtor(s) has failed to resolve an
CHAPTER 13          objection to confirmation filed by a creditor. (See box below)
Keith L. Rucinski
     Trustee
Akron, OH 44308
 (330)762-6335             D. Pursuant to 11 USC § 1307(c)(1), the Debtor(s) has not prepared an order to
       Fax          resolve the Debtor(s) objection to a claim. (See box below)
 (330)762-7072


                             E.   The plan needs amended.. (See box below)

                          F. Pursuant to Administrative Orders 17-2 and 18-5, interest rates in the plan must
                    be 2% higher than the prime rate at time of confirmation. (See box below)

                      X      G.   Other (See below)

                       An order is needed to resolve an Objection to Confirmation of the Plan filed by M&T
                       Bank (docket no 25) and Response (docket no 33).
                       The case is currently $4,500 delinquent. This case was filed in April 2019 and a full
                       monthly Chapter 13 plan payment has not been made into the plan. Conduit mortgage
                       payments are to be made through the plan in the amount of $918.92, without full plan
                       payments being paid, the conduit plan payments will not be able to be made.


              19-50681-amk         Doc 43     FILED 09/18/19      ENTERED 09/18/19 13:03:39          Page 1 of 3
                    If within 21 days from the date in the below certificate of service, the Debtor(s) do not
                    resolve all item(s) noted in this pleading, the Trustee requests that the Court issue an order
                    dismissing this case.
                                                                NOTICE
                    Pursuant to 11 USC § 102, unless a party in interest requests a hearing on this motion,
                    the Court may grant this motion within 21 days from the date in the below certificate
                    of service without further hearing or notice. Parties wishing to be heard on this motion
                    must file a response and request a hearing with the US Bankruptcy Court at:

                                                      US Bankruptcy Court
                                                       2 South Main Street
                                              455 John F. Seiberling Federal Building
                                                        Akron, OH 44308

                    In addition to filing a response with the Court, parties requesting a hearing must serve
                    all parties in the below certificate of service either through the mailing address
                    provided or, where applicable, by the Court’s Electronic Filing System (ECF).

                    In the absence of a request for hearing by any party in interest, the Court may grant
                    the Trustee’s motion without further notice or hearing.




                    Respectfully submitted,


                    /s/ Keith L. Rucinski
                    Keith L. Rucinski,Chapter 13 Trustee
                    Ohio Reg. No. 0063137
                    Joseph A. Ferrise, Staff Attorney
CHAPTER 13          Ohio Reg., No 0084477
Keith L. Rucinski
     Trustee
                    Akron, OH 44308
Akron, OH 44308     Tel 330.762.6335
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                    jferrise@ch13akron.com




              19-50681-amk        Doc 43      FILED 09/18/19     ENTERED 09/18/19 13:03:39            Page 2 of 3
                                                   CERTIFICATE OF SERVICE

                           I hereby certify that on 09/18/2019, the following were served a copy of this
                    pleading:

                    Via Regular Mail

                    Christopher D Janok
                    1233 Nola Avenue
                    Barberton, OH 44203

                    Via ECF

                    DAVID A MUCKLOW (davidamucklow@yahoo.com)
                    Office of the US Trustee (ustpregion09.cl.ecf@usdoj.gov)
                    Keith L. Rucinski. Chapter 13 Trustee (krucinski@ch13akron.com)

                    Date of Service: 09/18/2019                   By: M. Jones
                                                                  Office of the Chapter 13 Trustee




CHAPTER 13
Keith L. Rucinski
     Trustee
Akron, OH 44308
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              19-50681-amk        Doc 43    FILED 09/18/19       ENTERED 09/18/19 13:03:39           Page 3 of 3
